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Income Statement - 12 Month
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UrbanOne Properties
Properties: 2008 Colquitt - 2008 Colquitt Houston, TX 77098
Fund Type: All
Period Range: Jul 2021 to Jun 2022
Accounting Basis: Modified Accrual
Level of Detail: Detail View
Include Zero Balance GL Accounts: No

Account Name                                                  Jul 2021               Aug 2021               Sep 2021               Oct 2021               Nov 2021               Dec 2021                Jan 2022               Feb 2022               Mar 2022               Apr 2022               May 2022               Jun 2022               Total
Operating Income & Expense
 Income
    INCOME
      RENTAL INCOME
         Rental Income                                                   12,750.00              12,365.94              12,295.00              12,790.00              12,790.00              12,790.00               13,110.00              13,110.00              13,110.00              13,110.00              10,710.00              11,647.00           150,577.94
         Gross Potential Rent                                                 0.00                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00                 0.00
         Parking                                                              0.00                   0.00                 100.00                 200.00                 150.00                 150.00                  150.00                 150.00                 150.00                 150.00                 150.00                 150.00             1,500.00
         Rent Concession                                                      0.00                -225.94                -774.06                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00            -1,000.00
         Loss/Gain to Lease                                                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00                 0.00
         Less- Vacancy                                                        0.00                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00                 0.00
      Total RENTAL INCOME                                                12,750.00              12,140.00              11,620.94              12,990.00              12,940.00              12,940.00               13,260.00              13,260.00              13,260.00              13,260.00              10,860.00              11,797.00           151,077.94
      EXPENSE REIMBURSEMENT
         Passthru Insurance                                                  9.50                   9.50                   9.50                   9.50                   9.50                    9.50                  85.50                  47.50                  38.00                  38.00                  38.00                  47.50                351.50
         Passthru Water and Sewer                                          210.00                 245.00                 249.52                 280.00                 280.00                  280.00                 280.00                 280.00                 245.00                 210.00                 210.00                 250.00              3,019.52
         Passthru Water                                                     70.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                 70.00
         Passthru Trash                                                    120.00                 105.00                 106.94                 120.00                 120.00                  120.00                 120.00                 120.00                 105.00                  90.00                  90.00                 110.00              1,326.94
      Total EXPENSE REIMBURSEMENT                                          409.50                 359.50                 365.96                 409.50                 409.50                  409.50                 485.50                 447.50                 388.00                 338.00                 338.00                 407.50              4,767.96
      OTHER INCOME
         Move Out Charges                                                     0.00                   0.00                   0.00                  75.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00                75.00
         Miscellaneous Income                                                 0.00                   0.00                   0.00                  50.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                 100.00                   0.00               150.00
         Admin Fees                                                           5.00                   5.00                   9.13                   8.00                   8.00                   8.00                    8.00                   8.00                   7.00                   6.00                   6.00                   7.00                85.13
      Total OTHER INCOME                                                      5.00                   5.00                   9.13                 133.00                   8.00                   8.00                    8.00                   8.00                   7.00                   6.00                 106.00                   7.00               310.13
    Total INCOME                                                         13,164.50              12,504.50              11,996.03              13,532.50              13,357.50              13,357.50               13,753.50              13,715.50              13,655.00              13,604.00              11,304.00              12,211.50           156,156.03
    Pet Fee                                                                 250.00                   0.00                 500.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                 500.00                 500.00                   0.00             1,750.00
    Application Fee Income                                                  180.00                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                  50.00                 110.00                  50.00               390.00
 Total Operating Income                                                  13,594.50              12,504.50              12,496.03              13,532.50              13,357.50              13,357.50               13,753.50              13,715.50              13,655.00              14,154.00              11,914.00              12,261.50           158,296.03
 Expense
    EXPENSES
      Repairs & Maintenance
         Pest Control                                                        0.00                   0.00                 115.00                   0.00                 111.52                  -54.12                   0.00                   0.00                   0.00                 111.52                   0.00                   0.00                283.92
         Landscaping                                                        45.00                 160.00                  90.00                  90.00                  90.00                   90.00                  90.00                  90.00                  90.00                  90.00                  90.00                  73.50              1,088.50
         Plumbing                                                            0.00                   0.00                 105.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                105.00
         Building Repair                                                     0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                 584.47                   0.00                584.47
         Gate Repair                                                         0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                 300.00                   0.00                   0.00                   0.00                   0.00                300.00
         HVAC                                                                0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                  40.04                   0.00                   0.00                   0.00                   0.00                 40.04
         Make Ready                                                          0.00                 200.00                 232.63                 450.00                   0.00                 -450.00                   0.00                   0.00                 200.00                   0.00                   0.00                   0.00                632.63
      Total Repairs & Maintenance                                           45.00                 360.00                 542.63                 540.00                 201.52                 -414.12                  90.00                 430.04                 290.00                 201.52                 674.47                  73.50              3,034.56
      Operating Expenses
         Security Monitoring                                                  0.00                  0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                  29.99                  29.99                   0.00                 59.98
         Electricity                                                         90.00                 70.00                  70.91                  15.56                   25.00                  20.31                  19.51                  30.29                  19.51                   0.00                 102.15                   0.00                463.24
         Gas                                                                 77.91                 91.93                 171.34                 177.60                   96.63                 -76.24                 111.76                 117.25                 115.40                 240.38                 210.26                 107.00              1,441.22
         Water                                                                0.00                  0.00                   0.00                   0.00                1,380.53                   0.00                 761.18                   0.00                 191.19                 129.62                 120.75                   0.00              2,583.27
         W/D Rental                                                         526.11                  0.00                   0.00                   0.00                    0.00                   0.32                   0.00                   0.00                   0.00                   0.00                   0.00                   0.00                526.43
         Trash Disposal                                                     516.82                 84.72                  94.41                 188.82                    0.00                -146.13                 105.12                 211.98                   1.74                   0.00                   0.00                   0.00              1,057.48
         Professional Fees                                                    0.00                  0.00                   0.00                   0.00                    0.00                  64.00                   0.00                   0.00                   0.00                  97.50                   0.00                   0.00                161.50
      Total Operating Expenses                                            1,210.84                246.65                 336.66                 381.98                1,502.16                -137.74                 997.57                 359.52                 327.84                 497.49                 463.15                 107.00              6,293.12
      General and Administrative Expenses
         Maintenance Fees                                                   176.00                 176.00                 176.00                 176.00                 176.00                 176.00                  176.00                 176.00                 176.00                 176.00                 176.00                 176.00             2,112.00
         Management Fees                                                    637.50                 506.00                 576.00                 561.00                 561.00                -149.35                  590.00                 549.67                 640.50                 560.50                 825.00                 485.50             6,343.32
         Payroll                                                            184.00                 184.00                 184.00                 184.00                 184.00                 184.00                  184.00                 184.00                 184.00                 184.00                 184.00                 184.00             2,208.00
         Commission                                                           0.00                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00                 0.00
         Referral Fees                                                        0.00                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00                 0.00
         Leasing Software                                                     0.00                   0.00                   0.00                   0.00                   0.00                 -90.93                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00               -90.93
         Legal and Accounting                                                 0.00                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00               1,007.09                   0.00                   0.00             1,007.09
         Property Tax                                                         0.00                   0.00                   0.00                   0.00                   0.00              26,710.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00            26,710.00
         Insurance                                                          450.00                 450.00                 450.00                 450.00                 450.00                 450.00                  450.00                 450.00                 450.00                 765.38                 765.38                   0.00             5,580.76
         Bank Service Charges                                                 0.00                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                  20.48                   0.00                   0.00                   0.00                20.48
      Total General and Administrative Expenses                           1,447.50               1,316.00               1,386.00               1,371.00               1,371.00              27,279.72                1,400.00               1,359.67               1,470.98               3,044.97               2,715.38               1,197.50            43,890.72
 Total Operating Expense                                                  2,703.34               1,922.65               2,265.29               2,292.98               3,074.68              26,727.86                2,487.57               2,149.23               2,088.82               3,743.98               3,853.00               1,378.00            53,218.40

  NOI - Net Operating Income                                             10,891.16              10,581.85              10,230.74              11,239.52              10,282.82              -13,370.36              11,265.93              11,566.27              11,566.18              10,410.02               8,061.00              10,883.50           105,077.63




                                                                                                                                                                                                                                                                                                                                   Exhibit 9
